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                                                                                                 United States Bankruptcy Court
                                                                                                     Southern District of Texas

                                                                                                        ENTERED
                                                                                                     December 19, 2022
                             UNITED STATES BANKRUPTCY COURT                                          Nathan Ochsner, Clerk

                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    In re:                                                §
                                                          §
    FREE SPEECH SYSTEMS, LLC,                             §            Case No. 22--60043
                                                          §
                                     DEBTOR.              §            (Subchapter V Debtor)
                                                          §                Chapter 11


             ORDER GRANTING SECOND MOTION FOR EXTENSION OF TIME TO
                         FILE A PLAN OF REORGANIZATION

             Upon the Debtor’s Second Motion for Extension of Time to File a Plan of Reorganization

(“Motion”) 1; and the Court having jurisdiction to consider the Motion and the relief requested

therein pursuant to 28 U.S.C. § 1334; and consideration of the Motion and the requested relief

being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been

provided, and it appearing that no other or further notice need be provided; and the Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and after due deliberation and sufficient cause appearing therefore, IT IS

HEREBY ORDERED THAT:

             1.     Pursuant to 11 U.S.C. § 1189(b), the time to file a plan of reorganization is hereby

extended until February 17, 2023. This extension is without prejudice to requests for additional

extensions.




1
 Capitalized terms used by not otherwise defined in this Order shall have the meanings ascribed to such terms in the
Motion.
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 2. The Court retains exclusive jurisdiction with respect to all matters arising or related to the

implementation, interpretation, and enforcement of this Order.




         August 02,
         December 19,2019
                      2022




                                            2
